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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


PARS EQUALITY CENTER, PUBLIC                           Civil Action No. 1:17-cv-255
AFFAIRS ALLIANCE OF IRANIAN
AMERICANS, INC., et al.,                               Hon. Tanya S. Chutkan

              Plaintiffs,

              v.

DONALD J. TRUMP et al.,

              Defendants.



                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Pars Equality Center and Iranian-

American Bar Association, by and through counsel, hereby voluntarily dismiss, without

prejudice, all claims made in their complaint against Defendants Donald J. Trump, U.S.

Department of Homeland Security, U.S. Customs and Border Protection, U.S. Department of

State, U.S. Department of Justice, Elaine Duke, Kevin K. McAleenan, Rex W. Tillerson,

Jefferson Beauregard Sessions III, and Daniel R. Coats.
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Dated: July 31, 2018

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